Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 1 of 7




     EXHIBIT 1
     Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 2 of 7




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



The Woodlands Pride, Inc.; Abilene
Pride Alliance; Extragrams, LLC; 360
Queen Entertainment LLC; Brigitte
Bandit,

        Plaintiffs,

v.                                            Civil Action No. 4:23-cv-02847

Angela Colmenero, in an official
capacity as Interim Attorney General of
Texas; The Woodlands Township;
Montgomery County, Texas; Brett
Ligon, in an official capacity as District
Attorney of Montgomery County; City
of Abilene, Texas; Taylor County,
Texas; James Hicks, in an official
capacity as District Attorney of Taylor
County; Delia Garza, in an official
capacity as County Attorney of Travis
County; Joe D. Gonzalez, in an official
capacity as District Attorney of Bexar
County,


        Defendants.




                      DECLARATION OF BRIGITTE BANDIT

Pursuant to 28 U.S.C. § 1746, Brigitte Bandit declares:
    Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 3 of 7




       1.    My name is Brigitte Bandit. 1 I am over twenty-one (21) years of age

and am fully competent to testify about the matters contained herein. The

following statements are made within my personal knowledge and are true and

correct.

      2.     I am a resident of Travis County, Texas. I am seeking leave to

proceed under a pseudonym to protect my safety and privacy.

      3.     In June 2023, my legal name was exposed on the internet by an anti-

LGBTQIA+ hate group. On their website and social media, this group posted

photos and video of me, taken out of context, and exposed my legal name. They

also lied and said that I perform “sexually explicit drag shows in front of children”

and am “a well-known advocate for child sexualization.” This group linked to my

Twitter account and urged their followers to send me hateful messages. The things

they said about me are false and have had an awful impact on my life.

      4.     Since that incident, I have been targeted by people on the internet who

have encouraged their followers to bother or harass me. People have called me a

“deviant who doesn’t belong with [sic] 500 feet of any children” and said things

like “I think groomers should be a little afraid”; “They should be terrified”; “You




1
     Brigitte Bandit is a pseudonym and I am seeking leave to proceed under a
pseudonym via the Motion that this declaration supports.
                                          2
    Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 4 of 7




can run but you cannot hide”; and “Kill it with fire.” Someone also posted a picture

of someone throwing a cinderblock with the words “COME HERE” on top of it.

      5.     The images below are a sample of the messages I received, which I

would be able to testify about if called upon to do so.




                                          3
Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 5 of 7




                                  4
    Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 6 of 7




      6.     Since SB 12 passed, I have become much more worried about my

personal safety at in-person events. I get nervous walking to and from my car

before and after shows and have had strangers on the street shake their head at me

and frown in disapproval. I used to like to get ready in full drag at home, but now I

wait until I get to the venue because I am too nervous to walk in public wearing

full drag. Multiple venues have already cancelled my events recently due to anti-

drag animus and threats. For the events that haven’t been cancelled, venues have

hired additional security due to the threats they were receiving, especially for any

event where people under 18 are or might be present.

      7.     Since filing this lawsuit, I have had to change the privacy settings on

my social media accounts because of the increase in messages of vitriol and hatred

that I have received.

      8.     I worry that if my legal name is required to be published on the

Court’s docket, I could face even more threats and harassment, and it would be

easier for people to search for my location or physical address if they intend to

commit violence against me.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




                                          5
Case 4:23-cv-02847 Document 22-1 Filed on 08/15/23 in TXSD Page 7 of 7



                                                           August
                          Executed this the15th
                                            _____ day of __________, 2023.


                                ____________________________________

                                            Brigitte Bandit




                                  6
